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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA

 THE STATE OF LOUISIANA,
 By and through its Attorney General, JEFF
 LANDRY, et al.,
                                    PLAINTIFFS,

 v.

 JOSEPH R. BIDEN, JR., in his official capacity
 as President of the United States; et al.,                CIVIL ACTION NO. 2:21-CV-1074-JDC-KK
                                    DEFENDANTS.


                        MOTION FOR PRELIMINARY INJUNCTION

        The States of Louisiana, Alabama, Florida, Georgia, Kentucky, Mississippi, South Dakota,

Texas, West Virginia, and Wyoming (collectively “Plaintiff States”) respectfully move this Court for

an order under Rule 65 of the Federal Rules of Civil Procedure granting a preliminary injunction, with

expedited consideration, in their favor against the named Defendants in their official capacities. As

explained in the Complaint and attached Memorandum, Defendants have violated the Administrative

Procedure Act, Energy Policy and Conservation Act, Clean Air Act, National Environmental Policy

Act, Mineral Leasing Act, and Outer Continental Shelf Lands Act by promulgating and implementing

the SC-GHG Estimates. Defendants have also acted beyond any authority granted by Congress, which

has never authorized the Executive to base regulatory policy upon global considerations.

        This Motion is made on the grounds specified in this Motion; the Complaint; the

accompanying Memorandum of Law; the exhibits attached to the Complaint and to this Motion; the

supporting declarations of Joseph St. John, David Dismukes, and Anne Smith; all matters of which

this Court may take judicial notice; and on such other and further oral or documentary evidence as

may be presented to the Court. Plaintiff States are substantially likely to prevail on the merits of their

claims and preliminary injunctive relief is necessary to avoid imminent and substantial injuries to their




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sovereign, quasi-sovereign, and proprietary interests. And the public interest and balance of harms

favor an order compelling Defendants to follow the law.

        For these reasons and those explained in the accompanying memorandum, Plaintiff States

respectfully request a preliminary injunction ordering Defendants to disregard the SC-GHG Estimates

and prohibiting them from adopting, employing, treating as binding, or relying upon the work product

of the Interagency Working Group. Plaintiff States also ask the Court to preliminarily enjoin

Defendants from independently relying upon the IWG’s illegal methodology considering global

effects, artificially low discount rates, and arbitrary time horizons. Finally, Plaintiff States ask the Court

to order the Defendants to return to the longstanding guidance of Circular A-4 in conducting

regulatory analysis.




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                                            Respectfully submitted,
 Dated: July 27, 2021
                                            JEFF LANDRY
 TYLER R. GREEN                              ATTORNEY GENERAL OF LOUISIANA
 DANIEL SHAPIRO
 CONSOVOY MCCARTHY PLLC                         /s/ Elizabeth B. Murrill   T
 222 S. Main Street, 5th Floor
 Salt Lake City, UT 84101                   ELIZABETH B. MURRILL
 (703) 243-9423                              Solicitor General
                                            JOSEPH S. ST. JOHN
                                             Deputy Solicitor General
                                            LOUISIANA DEPARTMENT OF JUSTICE
                                            1885 N. Third Street
                                            Baton Rouge, LA 70804
                                            Tel: (225) 326-6766
                                            murrille@ag.louisiana.gov
                                            stjohnj@ag.louisiana.gov


 OTHER COUNSEL:                             Counsel for Plaintiff States
 STEVE MARSHALL
   Attorney General of Alabama
 Edmund G. LaCour Jr.*
   Solicitor General
 Office of the Alabama Attorney General
 501 Washington Avenue
 Montgomery, AL 36130
 Tel: (334) 353-2196
 Fax: (334) 353-8400
 Edmund.LaCourt@AlabamaAg.gov
 Counsel for the State of Alabama

 ASHLEY MOODY
   Attorney General of Florida
 Rachel Siegel*
   Deputy Solicitor General
 Office of the Attorney General
 The Capitol, PL-01
 Tallahassee, Florida 32399
 Tel: (850) 414-3300
 Fax: (850) 410-2672
 rachel.siegel@myfloridalegal.com
 Counsel for the State of Florida




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 CHRISTOPHER M. CARR
   Attorney General of Georgia
 Andrew A. Pinson*
   Solicitor General
 Office of the Attorney General
 40 Capitol Square SW
 Atlanta, Georgia 30334
 (404) 458-3409
 apinson@law.ga.gov
 Counsel for the State of Georgia

 DANIEL CAMERON
   Attorney General of Kentucky
 Marc Manley**
   Assistant Attorney General
 Victor Maddox**
   Associate Attorney General
 Kentucky Office of the Attorney General
 700 Capital Avenue, Suite 118
 Frankfort, Kentucky
 Tel: (502) 696-5330
 Marc.Manley@ky.gov
 Victor.Maddox@ky.gov
 Counsel for the State of Kentucky

 LYNN FITCH
  Attorney General of Mississippi
 Justin L. Matheny*
   Assistant Solicitor General
 State of Mississippi
 Office of the Attorney General
 P.O. Box 220
 Jackson, MS 39205
 Tel: (601) 359-3680
 Counsel for the State of Mississippi

 Katie Hruska*
   Special Assistant Attorney General and
   Deputy General Counsel to South Dakota
   Governor Kristi Noem
 Mark Miller**
   General Counsel to South Dakota Governor
   Kristi Noem
 500 East Capitol Avenue
 Pierre, South Dakota 57501-5070
 Mark.Miller@state.sd.us
 Counsel for the State of South Dakota



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 KEN PAXTON
  Attorney General of Texas
 Brent Webster
   First Assistant Attorney General
 Judd E. Stone II*
   Solicitor General
 Patrick Sweeten*
   Deputy Attorney General
 Office of the Attorney General
 P.O. Box 12548 (MC 009)
 Austin, Texas 78711-2548
 Tel.: (512) 463-4139
 Fax: (512) 474-2697
 Patrick.Sweeten@oag.texas.gov
 Judd.Stone@oag.texas.gov
 Counsel for the State of Texas

 PATRICK MORRISEY
   West Virginia Attorney General
 Lindsay S. See*
   Solicitor General
 State Capitol, Bldg 1, Room E-26
 Charleston, WV 25305
 (304) 558-2021
 Lindsay.s.see@wvago.gov
 Counsel for the State of West Virginia

 BRIDGET HILL
   Attorney General of Wyoming
 James Kaste*
   Deputy Attorney General
 Travis Jordan*
   Assistant Attorney General
 Wyoming Attorney General’s Office
 109 State Capitol
 Cheyenne, WY 82002
 (307) 777-7895 (phone)
 (307) 777-3542 (fax)
 james.kaste@wyo.gov
 travis.jordan@wyo.gov

 *Admitted Pro Hac Vice
 **Motion for Pro Hac Vice admission forthcoming




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